

Matter of Henderson (2021 NY Slip Op 03362)





Matter of Henderson


2021 NY Slip Op 03362


Decided on May 27, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 27, 2021

PM-66-21
[*1]In the Matter of Brienne Elizabeth Henderson, an Attorney. (Attorney Registration No. 4945739.)

Calendar Date:May 24, 2021

Before:Egan Jr., J.P., Lynch, Aarons, Pritzker and Colangelo, JJ.

Brienne Elizabeth Henderson, Olympia, Washington, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Brienne Elizabeth Henderson was admitted to practice by this Court in 2011. Henderson now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Henderson's application.
Upon reading Henderson's affidavit sworn to March 19, 2021 and filed March 23, 2021, and upon reading the May 10, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Henderson is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Lynch, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Brienne Elizabeth Henderson's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Brienne Elizabeth Henderson's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Brienne Elizabeth Henderson is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Henderson is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Brienne Elizabeth Henderson shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








